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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA



ERIC DAIMLER,                                     )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )       Civil Action No. 2:18-cv-00165-NBF
                                                  )
CHRIS MOEHLE, ROBOTICS HUB                        )             JURY TRIAL DEMANDED
FUND 1, LLC, and COAL HILL                        )
VENTURES LLC,                                     )
                                                  )
                       Defendants.


                                     FIRST AMENDED COMPLAINT


         Plaintiff, Eric Daimler (“Daimler”), by his counsel, Thompson & Knight LLP and

Buchanan Ingersoll & Rooney PC, as and for his first amended complaint against defendants,

Chris Moehle (“Moehle”), Robotics Hub Fund 1, LLC (“Robotics Hub”), and Coal Hill Ventures

LLC (“Coal Hill”) (collectively, “Defendants”), alleges as follows:

                                          INTRODUCTION

         1.         This lawsuit arises from Defendants’ intentional misrepresentations that were

designed to mislead and induce Daimler to enter into: (i) a business partnership with Moehle, in

connection with which Daimler made significant financial contributions; and (ii) certain related

common unit award agreements that contained different and less favorable vesting schedules

than those of Moehle, Daimler’s equal partner.

         2.         Defendants thereafter took steps to force Daimler out of Robotics Hub and Coal

Hill (collectively, the “Companies”)—companies in which Daimler was an equal partner and/or

co-founded—by intentionally and wrongfully preventing him from satisfying the conditions of


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his vesting schedules, thereby causing all of his common units in the Companies to be treated as

having been forfeited.

         3.        Defendants believe that, because of such wrongful forfeiture, Daimler has no

membership or ownership interest in the Companies, thereby making Moehle the Companies’

majority member. After allegedly becoming a majority member of the Companies, Moehle

purportedly removed Daimler from the Boards of the Companies so that he could obtain majority

ownership and control over them.

                                                  PARTIES

         4.        Plaintiff, Daimler, is an individual who resides in the State of New York.

Defendants believe that Daimler has no membership or ownership interest in Robotics Hub or

Coal Hill.

         5.        Defendant, Moehle, is an individual who resides in the Commonwealth of

Pennsylvania. Moehle is a member of Robotics Hub and Coal Hill.

         6.        Defendant, Robotics Hub, is a limited liability company formed under the laws of

the State of Delaware, with its principal place of business in Pittsburgh, Pennsylvania.

         7.        Defendant, Coal Hill, is a limited liability company formed under the laws of the

Commonwealth of Pennsylvania, with its principal place of business in Pittsburgh, Pennsylvania.

                                             JURISDICTION

         8.        This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the

matter in controversy exceeds the sum of $75,000, exclusive of costs and interest, and there is

complete diversity of citizenship between the parties.1




1
  Upon information and belief, Jamie Fee, a non-party member of Robotics Hub and Coal Hill, is an individual who
resides in the State of Connecticut.

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           9.       Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Robotics

Hub and Coal Hill maintain their principal place of business in this district, Moehle resides in

this district, and a substantial part of the events giving rise to Daimler’s claims occurred in this

district.

                                        FACTUAL BACKGROUND

I.         Daimler Agrees to Form an Equal Partnership Based Upon Moehle’s
           Misrepresentations

           A.       The Formation of the Partnership

           10.      Daimler and Moehle formed a business partnership for the purpose of investing in

early-stage robotics companies with high growth potential.

           11.      Before becoming partners, Daimler and Moehle each maintained and operated

their own companies in robotics and venture finance—Skilled Science and Coal Hill2,

respectively.

           12.      In 2015, Daimler and Moehle decided to move forward with an equal partnership

by combining Skilled Science and Coal Hill through a de-facto merger, and by co-founding two

new entities: Robotics Hub and Robotics Hub Fund 1, LP (the “Fund”). Robotics Hub is the

Fund’s General Partner, and Coal Hill is the Fund’s Investment Manager.

           13.      Daimler and Moehle co-edited various documents—including, without limitation,

documents entitled “Skilled Science/Coal Hill Merger” and “Combined Skilled Science Coal

Hill Pro-Forma”—in connection with their efforts to merge Skilled Science and Coal Hill into a

new entity reflecting their equal partnership.

           14.      The de-facto merger was accomplished by, among other things: (i) Coal Hill

amending and restating its operating agreement to reflect the equal partnership between Daimler


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     Moehle formed Coal Hill in April 2015.

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and Moehle; (ii) Daimler and Moehle working together on marketing strategies for the

partnership, and ultimately amending various Coal Hill marketing materials to add Daimler as a

principal; (iii) Coal Hill engaging Jamie Fee, who previously worked with Daimler at Skilled

Science; and (iv) merging expenses accrued through the funding of Skilled Science into the

fundraising expenses of Robotics Hub.

         15.       Before their partnership began, Moehle represented to Daimler that General

Electric (“GE”), among others, would be investing in the Fund, and that he had a strong

relationship with the National Robotics Engineering Center (“NREC”) and the Robotics Institute

(“RI”), which would lead to potential investment opportunities for the partnership.

         16.       Specifically, with respect to GE, Moehle represented to Daimler throughout 2015

and 2016 that GE would invest $20,000,000.00 in the Fund, which was a significant portion of

the $50,000,000.00 the Fund sought to raise.

         17.       Daimler relied on Moehle’s representations concerning GE and the strength of his

relationships with the NREC and RI when Daimler decided to pursue an equal partnership with

Moehle in 2015.

         18.       During 2015 and early 2016, Daimler came to learn that Moehle misrepresented

and overstated the strength of his relationships with the NREC and RI.

         19.       However, throughout 2015 and 2016, Moehle continued to vigorously represent to

Daimler GE’s alleged commitment to invest $20,000,000.00 in the Fund.

         B.        Daimler and Moehle Were Equal Partners in the Companies

         20.       As of March 23, 2016, Daimler and Moehle were both members of the

Companies.




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         21.       Pursuant to the Companies’ respective Amended and Restated Operating

Agreements, both dated March 23, 2016, Daimler and Moehle were the only members of the

Companies’ initial Boards of Managers.

         22.       Daimler and Moehle entered into Common Unit Award Agreements, dated March

23, 2016, with each of the Companies pursuant to which Daimler and Moehle were both awarded

forty-two common units in each company, which units were subject to certain disparate vesting

schedules more fully discussed below.

         23.       In contrast, Fee also entered into Common Unit Award Agreements with each of

the Companies, dated March 23, 2016, pursuant to which Fee was awarded only two common

units in each company.

         24.       Further, pursuant to Section 3.08 of the Fund’s Limited Partnership Agreement,

both Daimler and Moehle are named “key persons,” such that if both Daimler and Moehle cease

to be actively involved in the Fund’s affairs, the Fund’s limited partners may elect to terminate

the Fund’s investment period.

         25.       The Companies and the Fund uniformly promoted Daimler and Moehle as equal

partners in connection with their public relations and fundraising efforts, including, without

limitation, in the Fund’s Confidential Private Placement Memorandum and other presentation

materials provided to potential investors.

         26.       During joint presentations to potential investors, some investors would expressly

ask Daimler and Moehle if the two were equal partners, and their response was always “yes.” In

fact, Moehle explained their relationship by stating that he and Daimler had combined their

efforts, not that Daimler had joined Coal Hill.




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         27.       Despite having an equal partnership, Daimler personally loaned Coal Hill

$125,000.00 pursuant to a promissory note and advanced personal funds to cover corporate

expenses. In contrast, Moehle provided an initial capital contribution of merely $1,000.00.

         28.       On or about November 2, 2017, Coal Hill paid the promissory note in full,

together with interest. Coal Hill also reimbursed Daimler for a portion of the expenses he

personally advanced to the company, in the amount of $35,000.00.

II.      Daimler Accepted a Presidential Fellowship that Benefitted the Companies and the
         Fund

         29.       In January 2016, Daimler was appointed as a Presidential Innovation Fellow for

the Barack Obama White House.

         30.       Daimler accepted the fellowship, which is a twelve-month program, during

Barack Obama’s last year in office. Thus, it was axiomatic that Daimler’s fellowship would end

in early 2017.

         31.       Moehle encouraged Daimler to accept the fellowship because of the value that the

Companies and the Fund would derive from it.

         32.       Daimler served as a Presidential Innovation Fellow from January 2016 to early

2017, during which time Daimler advised the White House on, among other things, issues

relating to robotics and artificial intelligence.

         33.       Daimler and Robotics Hub received positive press coverage with respect to

Daimler’s fellowship, and Defendants promoted Daimler’s White House position in connection

with their marketing and fundraising efforts.

         34.       Because Daimler’s fellowship allowed for outside employment, Daimler

continued to provide services to the Companies during 2016, but the Companies did not




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compensate him for such services. During such time, Daimler and Moehle agreed that Daimler’s

compensation for such services would accrue and be paid to Daimler at a later date.

         35.       As fully explained below, the relationship between Daimler and Moehle began to

break down, in part, because of Daimler’s fellowship.

III.     Defendants’ Misrepresentations Caused Daimler to Enter into Common Unit
         Award Agreements with Different and Less Favorable Vesting Schedules than those
         of His Equal Partner Moehle

         36.       On or about March 10, 2016, soon after Daimler's fellowship began, the

Companies and the Fund engaged Reed Smith LLP to, among other things, prepare various

corporate formation and governing documents, including the Common Unit Award Agreements

and the Companies’ Amended and Restated Operating Agreements.

         37.       With respect to the referenced engagement, Reed Smith interacted almost

exclusively with Moehle.

         A.        Common Unit Awards

         38.       The Companies each entered into a Common Unit Award Agreement, dated

March 23, 2016, with Moehle, pursuant to which Moehle was awarded forty-two common units

in both Robotics Hub and Coal Hill (the “Moehle/RH Award” and the “Moehle/CH Award,”

respectively, and collectively the “Moehle Awards”), which units vest as follows:

         20% vests on the first anniversary of Date of Award [March 23, 2017]; 1.6666% vests
         ratably on the last day of each month thereafter until the fifth anniversary of the Date of
         Award [March 23, 2021].

Copies of the Moehle/RH Award and the Moehle/CH Award are attached hereto as Exhibits A

and B, respectively.

         39.       The Companies also entered into Common Unit Award Agreements, dated

March 23, 2016, with Daimler, pursuant to which Robotics Hub and Coal Hill each awarded



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forty-two common units to Daimler (the “Daimler/RH Award” and the “Daimler/CH Award,”

respectively, and collectively the “Daimler Awards”).

         40.       Unlike Moehle’s common units, however, Daimler’s units vest as follows:

         20% vests on the date when [Daimler] has provided 12 consecutive and uninterrupted
         months of Full Time Services to the Company Group, provided that [Daimler] must begin
         providing such Full Time Services to the Company Group no later than the first
         anniversary of the Date of Award [March 23, 2017]; and

         provided the above conditions are met, the remaining 80% vests on a pro-rata basis on the
         last day of each month thereafter until the fifth anniversary of the Date of Award
         [March 23, 2021].

Copies of the Daimler/RH Award and the Daimler/CH Award are attached hereto as Exhibits C

and D, respectively.

         41.       Pursuant to Section 2(a) of the Daimler Awards, Daimler provides Full Time

Services if he is employed by or otherwise provides greater than 95% of his professional

activities, as determined in the sole discretion of the respective Boards, to the Company Group.

         42.       Section 2(a) of the Daimler Awards defines the Company Group as a combination

of Robotics Hub or Coal Hill, respectively, the Fund, and the Fund’s investment manager

(including services provided to portfolio companies of the Fund and Daimler’s capacity as an

employee of the Fund’s investment manager).

         B.        Defendants’ Misrepresentations

         43.       In multiple conversations during 2015 and 2016, some of which included

associates and investors, Moehle intentionally misrepresented to Daimler that: (i) Moehle and

Daimler would be treated as equals; (ii) the terms of the Daimler Awards were identical to those

of the Moehle Awards; and (iii) the Daimler and Moehle Awards both contained vesting

schedules pursuant to which a portion of the units would vest automatically while the remaining

units would vest over time.


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         44.       Reed Smith made the same misrepresentations to Daimler during conversations in

early 2016.

         45.       In early 2016, Daimler made it clear to Moehle and Reed Smith that he would

consent to the Daimler Awards only if he and Moehle were treated equally and the terms of the

Daimler Awards were identical to those of the Moehle Awards.

         46.       At no time did Defendants or Reed Smith inform Daimler that only the Daimler

Awards, not the Moehle Awards, contained vesting schedules requiring twelve consecutive and

uninterrupted months of Full-Time Services to the Company Group, which services must start

within a year of entering into the award agreements, before any common units would begin to

vest.

         47.       In fact, Moehle and Reed Smith continued to represent to Daimler until in or

about July 2016, several months after the awards were executed, that Moehle and Daimler were

treated equally and that the Daimler Awards and the Moehle Awards were identical.

         48.       It was never Daimler’s understanding, based upon representations by Moehle and

Reed Smith, and, indeed, was incomprehensible to Daimler, that there could be any circumstance

under which his common units in the Companies would be forfeited.

         49.       Daimler would not have entered into the Daimler Awards if he had known that: (i)

his common units vested differently than Moehle’s common units; (ii) he would be required to

provide twelve consecutive and uninterrupted months of Full-Time Services to the Company

Group, and begin such services within one year of entering into the Daimler Awards, before any

portion of his common units would begin to vest; and (iii) there could be any circumstance under

which his common units in the Companies would be forfeited.




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         C.        Amended and Restated Operating Agreements

         50.       Also on March 23, 2016, Robotics Hub and Coal Hill, and their respective

members, entered into Amended and Restated Operating Agreements (the “RH Operating

Agreement” and the “CH Operating Agreement,” respectively, and collectively the “Operating

Agreements”), which terms are incorporated in the respective Moehle Awards and Daimler

Awards. Copies of the RH Operating Agreement and the CH Operating Agreement are attached

hereto as Exhibits E and F, respectively.

         51.       Section 7.1 of the respective Operating Agreements requires the Companies to

record members’ initial capital contributions, and Section 7.3 requires the Companies to establish

and maintain on their own books and records a separate capital account for each member.

         52.       Section 7.2 of the respective Operating Agreements requires all additional capital

contributions to be made in connection with the issuance of units.

         53.       Pursuant to Section 12.3(b) of the Operating Agreements, Covered Persons

(including, among others, members, officers and directors, and managers) who are permitted or

required to make a decision in good faith must act under such express standard.

         54.       Under Section 12.4 of the Operating Agreements, Covered Persons are entitled to

indemnification from the Companies in connection with actions or omissions performed on

behalf of the Companies only if such person acts in good faith and in a manner believed by such

person to be in, or not opposed to, the best interests of the company, and such person’s conduct

does not constitute fraud or willful misconduct.

IV.      The Relationship Between Daimler and Moehle Breaks Down, But Daimler Remains
         Engaged in the Companies and the Fund

         55.       As explained above, Daimler and Moehle began their partnership as equal

partners—and were promoted as such—and each initially devoted equal time to the Companies.


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         56.       Although Daimler worked for the Companies only part-time during his

Presidential Innovation Fellowship, both Moehle and Daimler understood that Daimler would

return to his full-time position with the Companies when his fellowship ended.

         57.       Indeed, as previously explained, it was understood that Daimler’s fellowship

necessarily had a finite end date in early 2017.

         58.       Additionally, as of January 2016 when Daimler began his fellowship, the business

partnership had budgeted matching salaries for Moehle and Daimler, and the Companies had

budgeted another full-time salary which they never paid because the individual for whom it was

budgeted did not become a member of the Companies as originally anticipated.

         59.       In early-mid 2016, the business relationship between Daimler and Moehle began

to break down.

         60.       The attention and publicity Daimler received in connection with his Presidential

Innovation Fellowship became a point of contention between Daimler and Moehle, and Moehle

began criticizing Daimler as a business partner.

         61.       Moehle became increasingly controlling over access to information about the

Fund’s investors and portfolio companies, information Moehle previously freely shared. Indeed,

Moehle unilaterally determined that he would become the “gatekeeper” of the information soon

after Daimler accepted his fellowship.

         62.       Moehle would criticize Daimler about statements he made during joint

presentations to potential investors about the Fund’s portfolio companies, but Moehle would

refuse to provide Daimler full access to relevant information about said portfolio companies.

Moehle even criticized the content on Daimler’s LinkedIn page, and directed Daimler to revise

his descriptions of the Companies to mirror those on Moehle’s LinkedIn page.



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         63.       Moehle also began to unilaterally assign Daimler “deliverables” without first

consulting with Daimler.

         64.       Despite rising tensions, Moehle needed Daimler to remain engaged in the

Companies and the Fund so that he would continue to make financial contributions to them, and

Daimler remained engaged throughout his fellowship.

         65.       Daimler also continued to make financial contributions to the Companies

throughout 2016 to pay, among other things, corporate expenses.

         66.       Moehle used some of Daimler’s financial contributions to the Companies to pay

for his own personal expenses, such as his mortgage payments and family trips.

         67.       Daimler made additional financial contributions to the Companies with the

expectation that they would be treated as capital contributions, and Moehle agreed that they

would be treated as such.

         68.       From May 2016 through August 2016, Daimler wrote several checks to Coal Hill

totaling approximately $30,000.00 to cover Coal Hill’s operating expenses, as Moehle requested.

         69.       Daimler did not receive additional common units in connection with his

additional financial contributions, as required by Section 7.2 of the respective Operating

Agreements.

V.       Defendants Force Daimler Out of the Companies Despite His Attempts to Remain
         Actively Involved in Them

         70.       During the second half of 2016, Moehle began taking steps to gain sole control of

the Companies. Indeed, Moehle continued criticizing Daimler as a business partner and

increasingly began obstructing efforts by Daimler and Fee to engage in the Companies and the

Fund.




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         71.       During the Fall of 2016, Daimler and Fee made several attempts to arrange

meetings with Moehle in Pittsburgh, where the Companies and the Fund are based, but Moehle

thwarted all such efforts. In fact, Moehle told Daimler that the two would have a problem if

Daimler scheduled a trip to Pittsburgh.

         72.       On numerous occasions, Daimler and Fee offered to help Moehle with the Fund’s

first closing in December 2016. But Moehle repeatedly refused their help, stated that he would

handle the closing, and directed Daimler and Fee to focus their efforts elsewhere.

         73.       Further, Moehle continued to unilaterally assign Daimler “deliverables,”

including asking Daimler to make introductions to, among others, internet travel companies such

as Google Travel. Daimler made the introductions Moehle requested, but afterwards Moehle

would tell Daimler that the introductions were no longer needed. Moehle would then claim that

Daimler failed to complete such “deliverables.”

         74.       On several occasions in mid-late 2016, Moehle actively obstructed Daimler’s

efforts to communicate with the Fund’s investors and portfolio companies.

         75.       Specifically, Daimler explicitly asked Moehle for the contact information for

various investors and portfolio companies, including, among others, TravelWits. Moehle either

ignored Daimler’s requests or flatly refused to disclose the information. In some instances,

Moehle even refused to disclose the contact’s name.

         76.       In late 2016, Moehle began discouraging Daimler from ending his fellowship,

which he could have done at any time, because the Companies allegedly had no funds with

which to pay him. Daimler suggested that his salary could continue to accrue and be paid to him

at a later date, as had been done in the past, but Moehle opposed such structure.




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         77.       Despite Moehle’s efforts in 2016 to disassociate himself, the Companies, and the

Fund from Daimler, he simultaneously represented to investors that Daimler was his equal

partner until in or about November 2016.

         78.       Daimler and Moehle met in-person on January 5-6, 2017 to discuss the notion that

Daimler would not return to his full-time role with the Companies at that time, but that Daimler

could still earn some compensation in a non-operating role, and that a full-time operating role for

Daimler would occur at a later date.

         79.       On or about January 5, 2017, just before Daimler’s fellowship would ultimately

end, Moehle recommended to the Companies’ Boards (which constituted only Daimler and

Moehle) that Daimler not be permitted to return to a full-time role with the Companies.

         80.       Although Moehle and the Companies had contemplated Daimler’s return to full-

time employment from the outset and budgeted a full-time salary for Daimler, Moehle

purportedly made the above recommendation to the Boards because the Companies allegedly

lacked sufficient funds to pay Daimler a full-time salary at that time. Indeed, Moehle refused to

allow Daimler’s salary to continue to accrue and be paid at a later date, as it had in the past.

         81.       At the Companies’ respective Board meetings on or about January 5, 2017,

Moehle voted against, and Daimler voted in favor of, Daimler returning to a full-time role with

the Companies.

         82.       Because no other votes were cast, the Boards were deadlocked and the matter was

referred to the Deadlock Advisor, David Mawhinney, in accordance with Section 5.5(c) of the

Companies’ respective Operating Agreements.

         83.       Daimler and Moehle met in-person again on January 18, 2017 in Orlando, Florida

to resume their January 5-6, 2017 discussions.



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         84.       On or about March 22, 2017, just before the first anniversary of the date of the

Daimler Awards, Mawhinney broke the deadlock by voting against Daimler returning to a full-

time, fully compensated role with the Companies at that time due to their financial status, but

understood when casting his vote that Daimler’s full-time engagement with the Companies

would occur at a later date and did not foreclose the possibility that Daimler could, if he so

elected, return to work on a full-time basis with some portion of his compensation accrued, but

not paid, as had been done in the past.

         85.       Despite Defendants’ previous representations to the contrary, they never offered

Daimler a non-operating role in the Companies, provided any compensation to him, or permitted

his full-time engagement with the Companies. Instead, Defendants took additional steps to

ensure that Daimler had no role whatsoever within the Companies.

         86.       Because Defendants wrongfully prevented Daimler from returning to his full-time

role with the Companies within a year after executing the Daimler Awards, by March 23, 2017,

despite Daimler’s desire and attempts to do so, the Companies deemed all of Daimler’s common

units to be forfeited.

         87.       As a result of such wrongful forfeiture, Defendants believe that Daimler has no

membership or ownership interest in the Companies, thereby making Moehle the Companies’

majority member.

         88.       After obtaining a majority membership interest, to further prevent Daimler from

serving the Companies in any capacity, Moehle purportedly directed the Companies to remove

Daimler from their respective Boards and amend and restate the Fund’s Limited Partnership

Agreement to remove Daimler from the “Key Person” provision set forth in Section 3.08 of the

agreement.



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                                               COUNT ONE

                                   FRAUD IN THE INDUCEMENT
                                        (Against Moehle)

         89.       Plaintiff repeats all prior allegations as though fully set forth herein.

         90.       Moehle intentionally misrepresented to Daimler that GE, among others, would be

investing in the Fund, and that he had a strong relationship with the NREC and the RI, which

would lead to potential investment opportunities for Moehle and Daimler’s business partnership.

         91.       Moehle also intentionally misrepresented to Daimler that the terms of the Daimler

Awards were identical to those of the Moehle Awards, and that the Daimler Awards and Moehle

Awards both contained vesting schedules pursuant to which a portion of common units would

vest automatically while the remaining units would vest over time.

         92.       Moehle made such misrepresentations knowing they were false or with a reckless

disregard as to whether they were true or false. Such misrepresentations are material because

Daimler would not have entered into the business partnership in 2015 if he had known that GE

and others had not committed to investing in the Fund to the degree Moehle represented, and that

Moehle had grossly overstated his relationship with the NREC and the RI.

         93.       Nor would Daimler have entered into the Daimler Awards if he had known that:

(i) the terms of the Daimler Awards and Moehle Awards were not identical; (ii) he would be

required to provide twelve consecutive and uninterrupted months of Full-Time Services to the

Company Group before his common units would begin to vest, provided that he begin providing

such services within one year of executing the awards; and (iii) there could be any circumstance

under which his common units in the Companies would be forfeited.

         94.       Moehle made such misrepresentations to Daimler with the intention of: (i)

misleading Daimler into relying upon said misrepresentations; (ii) using said misrepresentations


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to induce Daimler into funding the Companies in 2015 and 2016, some of which funds Moehle

used for his own benefit; and (iii) later forcing Daimler out of the Companies in early 2017 so

that Moehle would have majority ownership and control over them.

         95.       Daimler justifiably relied upon Moehle’s misrepresentations as being true when

he decided to enter into a business partnership with Moehle in 2015 and the Daimler Awards in

2016.

         96.       As a direct and proximate result of Moehle’s misrepresentations, together with

Daimler’s justifiable reliance on said misrepresentations, Daimler was wrongfully prevented

from satisfying the vesting requirements in the Daimler Awards, thereby causing all of his

common units in the Companies to be treated as having been forfeited (and thus as though

Daimler has no membership or ownership interest in the Companies). Such wrongful forfeiture

resulted in Moehle becoming a majority member of the Companies and removing Daimler from

their respective Boards.

                                              COUNT TWO

                                     FRAUD IN THE EXECUTION
                                         (Against Moehle)

         97.       Plaintiff repeats all prior allegations as though fully set forth herein.

         98.       Moehle intentionally misrepresented to Daimler that the terms of the Daimler

Awards were the same as those of the Moehle Awards, and that the Daimler Awards and Moehle

Awards both contained vesting schedules pursuant to which a portion of common units would

vest automatically while the remaining units would vest over time.

         99.       Moehle made such misrepresentations knowing they were false or with a reckless

disregard as to whether they were true or false.




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         100.      Moehle made such misrepresentations to Daimler with the intention of misleading

Daimler into relying upon said misrepresentations, inducing Daimler into executing the Daimler

Awards such that he would continue funding the Companies (some of which funds Moehle used

for his own benefit), and using said misrepresentations to later force Daimler out of the

company.

         101.      Daimler mistakenly believed, due to intentional misrepresentations by Moehle,

that the Daimler Awards were identical to the Moehle Awards, and that a portion of Daimler’s

units would vest automatically while the remaining units would vest over time.

         102.      Moehle’s misrepresentations are material because Daimler would not have

entered into the Daimler Awards if he had known that: (i) the terms of the Daimler Awards and

Moehle Awards were not identical; (ii) he would be required to provide twelve consecutive and

uninterrupted months of Full-Time Services to the Company Group before his common units

would begin to vest, provided that he begin providing such services within a year of executing

the awards; and (iii) there could be any circumstance under which his common units in the

Companies would be forfeited.

         103.      The fact that Daimler was unaware of the contents of the Daimler Awards and the

disparity between the Daimler Awards and the Moehle Awards is excusable because Daimler

reasonably believed representations repeatedly made to him by his equal business partner

Moehle, who was the Companies’ counsel’s primary point of contact with respect to drafting,

among other things, the award agreements.

         104.      Daimler justifiably relied upon Moehle’s misrepresentations as being true when

he executed the signature pages to the Daimler Awards.




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         105.      As a direct and proximate result of Moehle’s misrepresentations, together with

Daimler’s justifiable reliance on said misrepresentations, Daimler was wrongfully prevented

from satisfying the vesting requirements in the Daimler Awards, thereby causing the Companies

to treat all of his common units as having been forfeited (and thus as though Daimler has no

membership or ownership interest in the Companies). Such wrongful forfeiture resulted in

Moehle becoming a majority member of the Companies and removing Daimler from their

respective Boards.

                                             COUNT THREE

       TORTIOUS INTERFERENCE WITH CONTRACT – DAIMLER/RH AWARD
                            (Against Moehle)

         106.      Plaintiff repeats all prior allegations as though fully set forth herein.

         107.      The Daimler/RH Award establishes a contractual relationship between Daimler

and Robotics Hub, and Moehle was aware of the Daimler/RH Award at all relevant times.

         108.      Moehle intentionally misrepresented to Daimler that the terms of the Daimler/RH

Award were the same as those of the Moehle/RH Award, and that a portion of Daimler’s

common units would vest automatically while the remaining units would vest over time.

However, Daimler’s award, unlike Moehle’s, required him to provide Full-Time Services to the

Company Group for twelve consecutive and uninterrupted months before his units would begin

to vest, provided that Daimler began providing such services within a year of executing the

award.

         109.      Thereafter, Moehle purposefully prevented Daimler from providing Full-Time

Services to the Company Group in accordance with the Daimler/RH Award, and prevented

Robotics Hub from performing its contractual obligations under said award, with the intention of




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causing Daimler’s common units to be forfeited such that Moehle could obtain majority

ownership and control over Robotics Hub.

         110.      Moehle’s conduct was not privileged or justified.

         111.      As a direct and proximate result of Moehle’s purposeful and wrongful conduct, all

of Daimler’s common units in Robotics Hub were treated as having been forfeited. Such

wrongful forfeiture resulted in: (i) Robotics Hub treating Daimler as having no membership or

ownership interest in the company; and (ii) Moehle thereby becoming a majority member of

Robotics Hub and removing Daimler from the Board.

                                              COUNT FOUR

       TORTIOUS INTERFERENCE WITH CONTRACT – DAIMLER/CH AWARD
                            (Against Moehle)

         112.      Plaintiff repeats all prior allegations as though fully set forth herein.

         113.      The Daimler/CH Award establishes a contractual relationship between Daimler

and Coal Hill, and Moehle was aware of the Daimler/CH Award at all relevant times.

         114.      Moehle intentionally misrepresented to Daimler that the terms of the Daimler/CH

Award were the same as those of the Moehle/CH Award, and that a portion of Daimler’s units

would vest automatically while the remaining units would vest over time. However, Daimler’s

award, unlike Moehle’s, required him to provide Full-Time Services to the Company Group for

twelve consecutive and uninterrupted months before his units would begin to vest, provided that

Daimler began providing such services within a year of executing the award.

         115.      Thereafter, Moehle purposefully prevented Daimler from providing Full-Time

Services to the Company Group in accordance with the Daimler/CH Award, and prevented Coal

Hill from performing its contractual obligations under said award, with the intention of causing




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Daimler’s common units to be forfeited such that Moehle could obtain majority ownership and

control over Coal Hill.

         116.      Moehle’s conduct was not privileged or justified.

         117.      As a direct and proximate result of Moehle’s purposeful and wrongful conduct, all

of Daimler’s common units in Coal Hill were treated as having been forfeited. Such wrongful

forfeiture resulted in: (i) Coal Hill treating Daimler as having no membership or ownership

interest in the company; and (ii) Moehle thereby becoming a majority member of Coal Hill and

removing Daimler from the Board.

                                              COUNT FIVE

                                        UNJUST ENRICHMENT
                                           (Against Moehle)

         118.      Plaintiff repeats all prior allegations as though fully set forth herein.

         119.      No direct contractual relationship exists between Daimler and Moehle.

         120.      Daimler provided almost all of the initial capital and other financial contributions

to the Companies for their benefit.

         121.      Some of Daimler’s capital and financial contributions were made at Moehle’s

request.

         122.      Upon information and belief, compared to Daimler, Moehle has made

insignificant capital and other financial contributions to the Companies.

         123.      Moehle wrongfully used some of Daimler’s capital and financial contributions to

pay for his personal expenses, including his mortgage payments and family travel expenses, only

a small portion of which has been repaid to Daimler.

         124.      Additionally, Moehle’s intentional and wrongful conduct preventing Daimler

from satisfying the vesting requirements in the Daimler Awards caused Daimler’s common units


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in the Companies to be treated as having been forfeited, which units Daimler received in

connection with his capital contributions. Such wrongful forfeiture resulted in: (i) the Companies

treating Daimler as having no membership or ownership interest in the Companies; and (ii)

Moehle thereby becoming a majority member of the Companies and removing Daimler from

their respective Boards.

                                               COUNT SIX

                           BREACH OF CONTRACT – DAIMLER/RH AWARD
                                      (Against Robotics Hub)

         125.      Plaintiff repeats all prior allegations as though fully set forth herein.

         126.      Daimler and Robotics Hub entered into the Daimler/RH Award, dated March 23,

2016.

         127.      Pursuant to Section 2 of the Daimler/RH Award, Robotics Hub agreed to award

Daimler forty-two common units, which units were to begin vesting upon Daimler starting to

provide Full-Time Services to the Company Group by March 23, 2017.

         128.      Robotics Hub intentionally and wrongfully prevented Daimler from beginning to

provide such services by March 23, 2017.

         129.      As a direct and proximate result of Robotics Hub’s intentional and wrongful

conduct, Robotics Hub treated all of the forty-two common units it awarded to Daimler as having

been forfeited. As a result of such wrongful forfeiture, Robotics Hub believes Daimler has no

membership or ownership interest in the company.

                                             COUNT SEVEN

        BREACH OF CONTRACT – ROBOTICS HUB OPERATING AGREEMENT
                          (Against Robotics Hub)

         130.      Plaintiff repeats all prior allegations as though fully set forth herein.




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         131.      Daimler and Robotics Hub entered into the Robotics Hub Operating Agreement,

dated March 23, 2016.

         132.      Pursuant to Section 12.3(b) of the Robotics Hub Operating Agreement, Moehle,

as an officer and member of Robotics Hub, was required to make decisions in good faith.

         133.      Moehle, on behalf of Robotics Hub, failed to act in good faith by: (i)

misrepresenting to Daimler that the terms of the Daimler/RH Award were identical to those of

the Moehle/RH Award and that a certain percentage of Daimler’s common units would vest

automatically while the others would vest over time; and (ii) thereafter using the disparate terms

of the awards to wrongfully prevent Daimler from satisfying his vesting requirements, resulting

in (a) Robotics Hub treating Daimler as having no membership or ownership interest in the

company, and (b) Moehle thereby becoming a majority member of Robotics Hub and removing

Daimler from the Board.

         134.      Pursuant to Section 7.2 of the Robotics Hub Operating Agreement, Robotics Hub

is required to issue units in connection with members’ additional capital contributions.

         135.      Daimler made several additional capital contributions in the amount of

approximately $100,000.00, but Robotics Hub did not issue additional units in connection with

said contributions.

         136.      As a direct and proximate result of Robotics Hub’s intentional and wrongful

conduct, Robotics Hub treated all of the forty-two common units it initially awarded to Daimler

as having been forfeited, and Daimler was issued no additional units in connection with his

additional capital contributions.




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                                             COUNT EIGHT

 BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING –
                        DAIMLER/RH AWARD
                        (Against Robotics Hub)

         137.      Plaintiff repeats all prior allegations as though fully set forth herein.

         138.      Robotics Hub had an implied contractual obligation to act in good faith and to

refrain from arbitrary or unreasonable conduct which would have the effect of preventing

Daimler from receiving the fruits of the bargain.

         139.      Robotics Hub breached such obligations by fraudulently inducing Daimler to

enter into and execute the Daimler/RH Award, and thereafter wrongfully preventing Daimler

from returning to a full-time position with the company as required by said award for Daimler’s

units to begin vesting.

         140.      As a direct and proximate result of Robotics Hub’s intentional and wrongful

conduct, Robotics Hub treated all of the forty-two common units it awarded to Daimler as having

been forfeited. As a result of such wrongful forfeiture, Robotics Hub believes Daimler has no

membership or ownership interest in the company.

                                              COUNT NINE

                                   FRAUD IN THE INDUCEMENT
                                      (Against Robotics Hub)

         141.      Plaintiff repeats all prior allegations as though fully set forth herein.

         142.      Robotics Hub intentionally misrepresented to Daimler that the terms of the

Daimler/RH Award were identical to those of the Moehle/RH Award, and that the Daimler

Awards and Moehle Awards both contained vesting schedules pursuant to which a portion of

common units would vest automatically while the remaining units would vest over time.




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         143.      Robotics Hub made such misrepresentations knowing they were false or with a

reckless disregard as to whether they were true or false.

         144.      Such misrepresentations are material because Daimler would not have entered

into the Daimler/RH Award if he had known that: (i) the terms of the Daimler Awards and

Moehle Awards were not identical; (ii) he would be required to provide twelve consecutive and

uninterrupted months of Full-Time Services to the Company Group before his common units

would begin to vest, provided that he begin providing such services within a year of executing

the awards; and (iii) there could be any circumstance under which his common units in Robotics

Hub would be forfeited.

         145.      Robotics Hub made such misrepresentations to Daimler with the intention of

inducing Daimler into entering the Daimler/RH Award, and with the intention of using said

misrepresentations to later force Daimler out of the company.

         146.      Daimler justifiably relied upon Robotics Hub’s misrepresentations as being true

when he decided to enter into the Daimler/RH Award.

         147.      As a direct and proximate result of Robotics Hub’s misrepresentations, together

with Daimler’s justifiable reliance on said misrepresentations, Daimler was wrongfully

prevented from satisfying the vesting requirements in the Daimler/RH Award, thereby causing

Robotics Hub to treat all of his common units as having been forfeited. As a result of such

wrongful forfeiture, Robotics Hub believes Daimler has no membership or ownership interest in

the company.

                                               COUNT TEN

                                     FRAUD IN THE EXECUTION
                                        (Against Robotics Hub)

         148.      Plaintiff repeats all prior allegations as though fully set forth herein.


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         149.      Robotics Hub intentionally misrepresented to Daimler that the terms of the

Daimler/RH Award were identical to those of the Moehle/RH Award, and that the Daimler

Awards and Moehle Awards both contained vesting schedules pursuant to which a portion of

common units would vest automatically while the remaining units would vest over time.

         150.      Robotics Hub made such misrepresentations knowing they were false or with a

reckless disregard as to whether they were true or false, and with the intention of inducing

Daimler into executing the Daimler/RH Award and using said misrepresentations to later force

Daimler out of the company.

         151.      Daimler mistakenly believed, due to intentional misrepresentations by Moehle (as

an officer and/or member of Robotics Hub) and the Companies’ counsel, that the Daimler/RH

Award was identical to the Moehle/RH Award, and that a portion of Daimler’s common units

would vest automatically while the remaining units would vest over time.

         152.      Robotics Hub’s misrepresentations are material because Daimler would not have

executed the Daimler/RH Award if he had known that: (i) the terms of the Daimler Awards and

Moehle Awards were not identical; (ii) he would be required to provide twelve consecutive and

uninterrupted months of Full-Time Services to the Company Group before his common units

would begin to vest, provided that he begin providing such services within a year of executing

the awards; and (iii) there could be any circumstance under which his common units in Robotics

Hub would be forfeited.

         153.      The fact that Daimler was unaware of the contents of the Daimler/RH Award and

the disparity between the Daimler/RH Award and the Moehle/RH Award is excusable because

Daimler reasonably believed representations made to him by the Companies’ counsel and




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repeatedly by his equal business partner Moehle, who was counsel’s primary point of contact

with respect to drafting, among other things, the award agreements.

         154.      Daimler justifiably relied upon Robotics Hub’s misrepresentations as being true

when he executed the signature pages to the Daimler/RH Award.

         155.      As a direct and proximate result of Robotics Hub’s misrepresentations, together

with Daimler’s justifiable reliance on said misrepresentations, Daimler was wrongfully

prevented from satisfying the vesting requirements in the Daimler/RH Award, thereby causing

Robotics Hub to treat all of his common units as having been forfeited. As a result of such

wrongful forfeiture, Robotics Hub believes Daimler has no membership or ownership interest in

the company.

                                            COUNT ELEVEN

                                       UNJUST ENRICHMENT
                                 (Alternatively, Against Robotics Hub)

         156.      Plaintiff repeats all prior allegations as though fully set forth herein.

         157.      Daimler provided capital and other financial contributions to Robotics Hub for its

benefit, including, without limitation, to pay company expenses.

         158.      Robotics Hub awarded Daimler forty-two common units in connection with some,

but not all, of such contributions.

         159.      Robotics Hub intentionally and wrongfully misrepresented to Daimler that his

common unit award was identical to Moehle’s award, and that a certain percentage of the units

awarded to both Moehle and Daimler would vest automatically while the others would vest over

time.

         160.      But, unlike Moehle’s common unit award, Robotics Hub required Daimler to

provide Full-Time Services to the Company Group for twelve consecutive and uninterrupted


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months before his units would begin to vest, provided that Daimler began providing such

services within a year of the date of the award.

         161.      Robotics Hub intentionally and wrongfully prevented Daimler from beginning to

provide such services, and ultimately treated all of the forty-two common units it awarded to

Daimler as having been forfeited.

         162.      Robotics Hub has not fully reimbursed Daimler for all of his capital and other

financial contributions or for the value of his forty-two common units that were wrongfully

forfeited.

         163.      Such wrongful forfeiture resulted in Robotics Hub treating Daimler as having no

membership or ownership interest in the company, and Moehle thereby becoming a majority

member of Robotics Hub and removing Daimler from the Board.

                                            COUNT TWELVE

                           BREACH OF CONTRACT – DAIMLER/CH AWARD
                                       (Against Coal Hill)

         164.      Plaintiff repeats all prior allegations as though fully set forth herein.

         165.      Daimler and Coal Hill entered into the Daimler/CH Award, dated March 23,

2016.

         166.      Pursuant to Section 2 of the Daimler/CH Award, Coal Hill agreed to award

Daimler forty-two common units, which units were to begin vesting upon Daimler starting to

provide Full-Time Services to the Company Group by March 23, 2017.

         167.      Coal Hill intentionally and wrongfully prevented Daimler from beginning to

provide such services by March 23, 2017.

         168.      As a direct and proximate result of Coal Hill’s intentional and wrongful conduct,

Coal Hill treated all of the forty-two common units it awarded to Daimler as having been


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forfeited. As a result of such wrongful forfeiture, Coal Hill believes Daimler has no membership

or ownership interest in the company.

                                           COUNT THIRTEEN

           BREACH OF CONTRACT – COAL HILL OPERATING AGREEMENT
                             (Against Coal Hill)

         169.      Plaintiff repeats all prior allegations as though fully set forth herein.

         170.      Daimler and Coal Hill entered into the Coal Hill Operating Agreement, dated

March 23, 2016.

         171.      Pursuant to Section 12.3(b) of the Coal Hill Operating Agreement, Moehle, as an

officer and member of Coal Hill, was required to make decisions in good faith.

         172.      Moehle, on behalf of Coal Hill, failed to act in good faith by: (i) misrepresenting

to Daimler that the terms of the Daimler/CH Award were identical to those of the Moehle/CH

Award and that a certain percentage of Daimler’s common units would vest automatically while

the others would vest over time; and (ii) thereafter using the disparate terms of the awards to

prevent Daimler from satisfying his vesting requirements, resulting in (a) Coal Hill treating

Daimler as having no membership or ownership interest in the company and (b) Moehle thereby

becoming a majority member of Coal Hill and removing Daimler from the Board.

         173.      Pursuant to Section 7.2 of the Coal Hill Operating Agreement, Coal Hill is

required to issue units in connection with members’ additional capital contributions.

         174.      Daimler made several additional capital contributions in the amount of

approximately $100,000.00, but Coal Hill did not issue additional units in connection with such

contributions.

         175.      As a direct and proximate result of Coal Hill’s intentional and wrongful conduct,

Coal Hill treated all of the forty-two common units it awarded to Daimler as having been


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forfeited, and Daimler was issued no additional units in connection with his additional capital

contributions.

                                          COUNT FOURTEEN

                                   FRAUD IN THE INDUCEMENT
                                        (Against Coal Hill)

         176.      Plaintiff repeats all prior allegations as though fully set forth herein.

         177.      Coal Hill intentionally misrepresented to Daimler that the terms of the

Daimler/CH Award were identical to those of the Moehle/CH Award, and that the Daimler

Awards and Moehle Awards both contained vesting schedules pursuant to which a portion of

common units would vest automatically while the remaining units would vest over time.

         178.      Coal Hill made such misrepresentations knowing they were false or with a

reckless disregard as to whether they were true or false.

         179.      Such misrepresentations are material because Daimler would not have entered

into the Daimler/CH Award if he had known that: (i) the terms of the Daimler Awards and

Moehle Awards were not identical; (ii) he would be required to provide twelve consecutive and

uninterrupted months of Full-Time Services to the Company Group before his common units

would begin to vest, provided that he begin providing such services within a year of executing

the awards; and (iii) there could be any circumstance under which his common units in Coal Hill

would be forfeited.

         180.      Coal Hill made such misrepresentations to Daimler with the intention of

misleading Daimler into relying upon said misrepresentations, inducing Daimler into entering the

Daimler/CH Award, and using said misrepresentations to later force Daimler out of the

company.




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         181.      Daimler justifiably relied upon Coal Hill’s misrepresentations as being true when

he decided to enter into the Daimler/CH Award.

         182.      As a direct and proximate result of Coal Hill’s misrepresentations, together with

Daimler’s justifiable reliance on said misrepresentations, Daimler was wrongfully prevented

from satisfying the vesting requirements in the Daimler/CH Award, thereby causing Coal Hill to

treat all of his common units as having been forfeited. As a result of such wrongful forfeiture,

Coal Hill believes Daimler has no membership or ownership interest in the company.

                                            COUNT FIFTEEN

                                     FRAUD IN THE EXECUTION
                                         (Against Coal Hill)

         183.      Plaintiff repeats all prior allegations as though fully set forth herein.

         184.      Coal Hill intentionally misrepresented to Daimler that the terms of the

Daimler/CH Award were the same as those of the Moehle/CH Award, and that the Daimler

Awards and Moehle Awards both contained vesting schedules pursuant to which a portion of

common units would vest automatically while the remaining units would vest over time.

         185.      Coal Hill made such misrepresentations knowing they were false or with a

reckless disregard as to whether they were true or false.

         186.      Coal Hill made such misrepresentations to Daimler with the intention of

misleading Daimler into relying upon said misrepresentations, inducing Daimler into executing

the Daimler/CH Award, and using said misrepresentations to later force Daimler out of the

company.

         187.      Daimler mistakenly believed, due to intentional misrepresentations by Moehle (as

an officer and/or member of Coal Hill) and the Companies’ counsel, that the Daimler/CH Award




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was identical to the Moehle/CH Award, and that a portion of Daimler’s units would vest

automatically while the remaining units would vest over time.

         188.      Coal Hill’s misrepresentations are material because Daimler would not have

executed the Daimler/CH Award if he had known that: (i) the terms of the Daimler Awards and

Moehle Awards were not identical; (ii) he would be required to provide twelve consecutive and

uninterrupted months of Full-Time Services to the Company Group before his common units

would begin to vest, provided that he begin providing such services within a year of executing

the awards; and (iii) there could be any circumstance under which his common units in Coal Hill

would be forfeited.

         189.      The fact that Daimler was unaware of the contents of the Daimler/CH Award and

the disparity between the Daimler/CH Award and the Moehle/CH Award is excusable because

Daimler reasonably believed representations made to him by the Companies’ counsel and

repeatedly by his equal business partner Moehle, who was counsel’s primary point of contact

with respect to drafting, among other things, the award agreements.

         190.      Daimler justifiably relied upon Coal Hill’s misrepresentations as being true when

he executed the signature pages to the Daimler/CH Award.

         191.      As a direct and proximate result of Coal Hill’s misrepresentations, together with

Daimler’s justifiable reliance on said misrepresentations, Daimler was wrongfully prevented

from satisfying the vesting requirements in the Daimler/CH Award, thereby causing Coal Hill to

treat all of his common units as having been forfeited. As a result of such wrongful forfeiture,

Coal Hill believes Daimler has no membership or ownership interest in the company.




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                                            COUNT SIXTEEN

                                        UNJUST ENRICHMENT
                                    (Alternatively, Against Coal Hill)

         192.      Plaintiff repeats all prior allegations as though fully set forth herein.

         193.      Daimler provided capital and other financial contributions to Coal Hill for its

benefit, including, without limitation, to pay company expenses.

         194.      Coal Hill awarded Daimler forty-two common units in connection with some, but

not all, of such contributions.

         195.      Coal Hill intentionally and wrongfully misrepresented to Daimler that his

common unit award was identical to Moehle’s award, and that a certain percentage of the units

awarded to both Moehle and Daimler would vest automatically while the others would vest over

time.

         196.      But, unlike Moehle’s common unit award, Coal Hill required Daimler to provide

Full-Time Services to the Company Group for twelve consecutive and uninterrupted months

before his units would begin to vest, provided that Daimler began providing such services within

a year of the date of the award.

         197.      Coal Hill intentionally and wrongfully prevented Daimler from beginning to

provide such services, and ultimately treated all of the forty-two common units it awarded to

Daimler as having been forfeited.

         198.      Coal Hill has not fully reimbursed Daimler for all of his capital and other

financial contributions or for the value of his forty-two common units that were wrongfully

forfeited.




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         199.      Such wrongful forfeiture resulted in Coal Hill treating Daimler as having no

membership or ownership interest in the company, and Moehle thereby becoming a majority

member of Coal Hill and removing Daimler from the Board.

                                         COUNT SEVENTEEN

                                            ACCOUNTING
                                         (Against Robotics Hub)

         200.      Plaintiff repeats all prior allegations as though fully set forth herein.

         201.      Information pertaining to the usage of Daimler’s capital and other financial

contributions and the value of Robotics Hub’s common units is solely within the possession of

Robotics Hub, which information is necessary for Daimler to properly calculate any damages

due and owing to him.

         202.      Robotics Hub has failed to account for its members’ capital contributions, to

provide account statements for its members’ capital accounts, and to account for Robotics Hub’s

finances.

         203.      Daimler has no adequate remedy at law.

                                          COUNT EIGHTEEN

                                        LEGAL ACCOUNTING
                                          (Against Coal Hill)

         204.      Plaintiff repeats all prior allegations as though fully set forth herein.

         205.      The Daimler/CH Award is a valid contract between Daimler and Coal Hill.

         206.      Daimler is entitled to a full and complete accounting from Coal Hill because Coal

Hill was responsible for collecting and recording its members’ initial and additional capital

contributions, and for establishing and maintaining on its own books a records a separate capital

account for each member.




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         207.      Daimler is further entitled to a full and complete accounting from Coal Hill

because the company is required to conduct an accounting annually and to maintain its financial

statements and tax returns.

         208.      Coal Hill has failed to account for the capital contributions of its members, to

provide account statements for its members’ capital accounts, and to account for Coal Hill’s

finances.

         209.      Coal Hill is solely in possession of this information, which is necessary for

Daimler to properly calculate any damages due and owing to him.

                                       PRAYER FOR RELIEF

         WHEREFORE, Daimler demands judgment in his favor as follows:

         (i)       On Counts One, Two, Three, and Four, awarding Daimler monetary damages in

an amount to be determined at trial, but in no event less than $10 Million;

         (ii)      On Count Five, awarding Daimler monetary damages in an amount to be

determined at trial, but in no event less than $10 Million, and requiring Moehle to account for all

transactions between himself and the Companies, the Fund, and Daimler;

         (iii)     On Counts Six, Eight, Nine, Ten, and Eleven, awarding Daimler injunctive relief,

including, but not limited to, compelling Robotics Hub to reissue Daimler’s forty-two common

units that it wrongfully treated as having been forfeited; or, alternatively, compensatory damages

in an amount to be determined at trial, but in no event less than $10 Million;

         (iv)      On Count Seven, awarding Daimler injunctive relief, including, but not limited to,

compelling Robotics Hub to reissue Daimler’s forty-two common units that it wrongfully treated

as having been forfeited and to issue additional units in connection with Daimler’s additional

capital contributions, and enjoining Robotics Hub from advancing Moehle funds for legal or



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other expenses as incurred in connection with this action; or, alternatively, compensatory

damages in an amount to be determined at trial, but in no event less than $10 Million;

         (v)       On Counts Twelve, Fourteen, Fifteen, and Sixteen, awarding Daimler injunctive

relief, including, but not limited to, compelling Coal Hill to reissue Daimler’s forty-two common

units that it wrongfully treated as having been forfeited; or, alternatively, compensatory damages

in an amount to be determined at trial, but in no event less than $10 Million;

         (vi)      On Count Thirteen, awarding Daimler injunctive relief, including, but not limited

to, compelling Coal Hill to reissue Daimler’s forty-two common units that it wrongfully treated

as having been forfeited and to issue additional units in connection with Daimler’s additional

capital contributions, and enjoining Coal Hill from advancing Moehle funds for legal or other

expenses as incurred in connection with this action; or, alternatively, compensatory damages in

an amount to be determined at trial, but in no event less than $10 Million;

         (vii)     On Count Seventeen, requiring Robotics Hub to provide a full and complete

accounting of its finances and its members’ capital contributions and capital accounts;

         (viii)    On Count Eighteen, requiring Coal Hill to provide a full and complete accounting

of its finances and its members’ capital contributions and capital accounts;

         (ix)      On all Counts, awarding Daimler reasonable attorneys’ fees and expenses, costs,

pre- and post-judgment interest, and punitive damages in an amount to be determined at trial; and

such other and further relief as the Court deems just and proper.




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                                     JURY TRIAL DEMANDED

           Pursuant to Fed. R. Civ. P. 38(b), Daimler hereby demands a trial by jury on all issues so

triable.

Dated: Pittsburgh, Pennsylvania                 Respectfully submitted,
       February 14, 2018
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